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EXHIBIT 4
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AAO AnMeRICAN ACADENY OF OnTHORARDIC SURGEONS EXHIBIT
J AMERICAN ASSOCIATION OF ORTHOPABDIC SURGEONS

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Podium Presentations

Post-arthrescopic shoulder chondrolfysis with associated intraarticular Pain Pump Catheter
use.

Paper No: 360
Thursday, March 23, 2006
05:48 PM ~ 05:54 PM

Location: McCormick Place
S501

Brent P Hansen, DO Peoria AZ (n)

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Sports Medicine/ Arthroscopy 177 arthroscopic shoulder surgeries were evaluated for
postoperative chondrolysis. An association with postoperative intraarticular pain pump catheters is
suspected.

Post-arthroscopic shoulder chondrolysis is a devastating complication. No etiology has been firmly
identified and treatment options are limited. We reviewed recently seen cases to determine if an
etiology could be identified,

The charts of 152 patients who underwent 177shoulder arthroscopies by the senior author between
January 1, 2003 and December 31, 2005 were reviewed for post-arthroscopic chondrolysis.
Demographics, procedure, Implant andsuture type, thermal probe use, intraarticular pain catheter
use and other common factorswere evaluated. Allchondrolysls cases also had rheumatologic and
infection work-ups.

Twelveshoulders inten patients whounderwent arthroscopic stabillzatlondeveloped chondrolysis. 83%
of theserequired a subsequent procedure. Allchondrolysis patients hadbeen treated post-operatively
with an intraarticular pain pump catheter ( IAPPC)with marcalne 0.25% with epinephrine
1:200000.Seven other patients treated with IAPPC's have not developedchandrolysis but are
considered at risk.No other patients developed chondralysis in this group. No other factors were
common.

The pH of marcaine with epinephrine Is between 3.5 and 5.5. All chondrolysis cases occurred
afterbeginning theuse of a larger pain pump which Infused this medication at 4.16cc/hour over 2 or 3
days. Although the exact etlologyand mechanism of chondrolysis Is stfll unknown, we belleve there is
a significantand previously unrecognized riskassociated withthe use of IAPPC’s and bupivicaine with
epinephrine. IAPPC's should be used with caution until the safety of constantly infusing locat
anesthetles Intraarticularly Is better defined.

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